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             EXHIBIT A-7
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     Pendrick Capital Partners Agency
     Requirements and Standard Operating
     Procedures




                 Effective Date: 01/25/2016




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 12.0       Standard Operating Procedures
          It is the responsibility of the Agency to ensure that all appropriate
          s ys t e m s a c c u r a t e l y r e f l e c t a l l w o r k e f f or t s ( c a l l s , c o n t a c t s , l e t t e r s ,
          e t c . ) a n d c o n s u m e r c o m m u n i c a t i o n s v e r b a l o r wr i t t e n e i t h e r d i r e c t l y o r
          from indirect sources such as regulatory and credit reporting agencies.




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          12.8       Disputes and Validation Requests both Verbal and Written
                     12.8.1 When possible the Agency is expected to determine the
                                 nature of the dispute and identify what validation can be
                                 obtained or research can be done to resolve the dispute.
                     1 2 . 8 . 2 W it h i n 3 b u s i n e s s d a ys t h e a g e n c y s h o u l d f o l l o w t h e
                                 process outlined in section 12.5 to request the required
                                 media from Pendrick. This includes regulatory complaints
                                 that are requesting validation of the debt.
                     12.8.3 Agency must also include the appropriate Status update
                                 in its maintenance file. The maintenance status update
                                 codes are still in development and subject to change but
                                 samples can be viewed in exhibit2.

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                     1 2 . 8 . 4 W it h i n 5 b u s i n e s s d a ys o f r e c e i v i n g t h e m e d i a f r o m
                                  Pendrick it must be sent to the consumer. Agency must
                                  also include the appropriate Status update in its
                                  maintenance file.
                     12.8.5 Agency must allow a reasonable time (Usually one week)
                                  for consumer to receive, read and contact the agency for
                                  p a ym e n t o r f u r t h e r q u e s t i o n s .
                     12.8.6 At this time the agency should attempt to contact the
                                  consumer to validate that the account is no longer in
                                  d i s p u t e a n d d i s c u s s p a ym e n t o p t i o n s .
                     12.8.7 If the agency is unable to resolve the dispute the account
                                  should be closed with the proper close code as outlined
                                  in exhibit 2.
                     12.8.8 No collection activity should occur between the receipt of
                                  t h e d i s p u t e a n d t h e r e a s o n a b l e t i m e a l l o we d f o r a
                                  consumer response.
                     1 2 . 8 . 9 I f A g e n c y r e c e i ve s a c e a s e a n d d e s i s t a l o n g w i t h a
                                  r e q u e s t f o r d e b t va l i d a t i o n t h e a g e n c y s h o u l d r e q u e s t t h e
                                  validation from Pendrick according to section 12.5.
                                  Agency should send the Itemized bill information to the
                                  consumer with a letter acknowledging that they will honor
                                  the cease and desist requested, however they did want to
                                  provide the information that was requested.
                     1 2 . 8 . 1 0 I f A g e n c y i s n o t i f i e d b y P e n d r i c k t h a t t h e d i s p u t e i s va l i d
                                  t h e n t h e y m u s t i m m e d i a t e l y c e a s e c o l l e c t i o n a c t i v i t y,
                                  close the account and then notify the consumer as
                                  appropriate.
                     12.8.11 Disputed accounts must be tracked and submitted to
                                    Pendrick on the monthly dispute log. See Exhibit F.
                     1 2 . 8 . 1 2 D i s p u t e s r e c e i ve d a f t e r t h e a c c o u n t i s c l o s e d w i t h
                                    Agency must be sent to Pendrick’s VP of Client
                                    Relations and Chief Compliance Officer, immediately
                                    upon receipt.


          12.9       Disputes Credit Bureau Reporting
                     12.9.1 If a dispute is received on an account that is credit
                            reported by the agency all of the steps in section 12.8
                            must be followed.
                     12.9.2 In addition, the Agency must comply with the FCRA and
                            update the consumers record with all CRA’s the account
                            is reported to.
                     12.9.3 The account should not be reported again unless the
                            consumer acknowledges the validity of the debt and
                            rescinds the dispute in writing.


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          12.13      Credit Reporting
                     12.13.1 Pendrick Capital Partners has granted the authority to
                                   its agencies to report the accounts placed with them for
                                   collections.
                     12.13.2 Accounts should not be reported until a minimum of 30
                                   d a ys f r o m p l a c e m e n t .
                     12.13.3 When reporting accounts, the K1 segment must list the
                                   original creditor not Pendrick.
                     12.13.4 Accounts must include the proper classification code of
                                   “02” for medical debt.
                     12.13.5 It is the Agency’s responsibility to have processes in
                                   place to comply with all FCRA requirements.
                     1 2 . 1 3 . 6 A g e n c y m u s t h a v e c o n t r o l s i n p l a c e t o p r o vi d e a c c u r a t e
                                   and timely listings, updates and deletes as well as
                                   proper handling of both direct and indirect (CDV)
                                   disputes.
                                12.13.6.1 This includes reporting Paid in Full and Settled
                                               in full accurately
                     12.13.7 Accounts in dispute must be reported as a dispute.

                     12.13.8 Agency must provide Pendrick with the proper status
                                    update in its regular maintenance file regarding CBR
                                    disputes. Status update codes are still in development
                                    but samples can be viewed in exhibit 2.
                     12.13.9 Agency must immediately delete any account as soon as
                                    it is closed or recalled.
                     1 2 . 1 3 . 1 0 A g e n c y m u s t n o t r e p o r t a n yt h i n g l e s s t h a n 1 8 0 d a y s
                                      from the Date of Service.
                     12.13.11 Agency must remove any account being paid 100% by
                                 insurance
                     1 2 . 1 3 . 1 2 I f A g e n c y r e c e i ve s o n e o f t h e i d e n t i f i e d d i s p u t e c o d e s
                                      in the placement file without a corresponding code
                                      21021 this account may be credit reported but should
                                      only be reported as a disputed accounted. Status
                                      update codes are still in development but samples can
                                      be viewed in exhibit 2.


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